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Severance, Ethan

From:                             McDonough, Joanna
Sent:                             Tuesday, November 15, 2022 3:31 PM
To:                               'Bruce Assad'; 'Robert Novack'; 'Rachel McCarthy'
Cc:                               Garcia, Christian; Severance, Ethan; Donovan, Caroline
Subject:                          RE: Fernandes - Second Set RFPs to Souza and Hodgson


Counsel,

It has been a week since my last email regarding your overdue responses to Plaintiff’s second sets of RFPs. Please let me
know today when we can expect a response. Otherwise, we will be forced, yet again, to ask the court to intervene and
compel production of the requested documents.

Thank you,
Joanna

From: McDonough, Joanna
Sent: Tuesday, November 8, 2022 2:40 PM
To: 'Bruce Assad' <BruceAssad@bcso-ma.org>; 'Robert Novack' <robertnovack@bcso-ma.org>; 'Rachel McCarthy'
<RachelMcCarthy@bcso-ma.org>
Cc: Garcia, Christian <cgarcia@foleyhoag.com>; Severance, Ethan <eseverance@foleyhoag.com>; Donovan, Caroline
<cdonovan@foleyhoag.com>
Subject: RE: Fernandes - Second Set RFPs to Souza and Hodgson

Counsel,

Please let us know when we can expect your response to Plaintiff’s Second Sets of RFPs, which are now overdue.

Joanna

From: McDonough, Joanna <jmcdonough@foleyhoag.com>
Sent: Wednesday, October 5, 2022 1:21 PM
To: 'Bruce Assad' <BruceAssad@bcso-ma.org>; 'Robert Novack' <robertnovack@bcso-ma.org>; 'Rachel McCarthy'
<RachelMcCarthy@bcso-ma.org>
Cc: Garcia, Christian <cgarcia@foleyhoag.com>; Severance, Ethan <eseverance@foleyhoag.com>; Donovan, Caroline
<cdonovan@foleyhoag.com>
Subject: Fernandes - Second Set RFPs to Souza and Hodgson

Counsel:

Attached for service please find Plaintiff’s Second Sets of RFPs to Defendants Souza and Hodgson. As a courtesy, these
will also be sent in hard copy via First Class Mail.

Regards,
Joanna


Joanna McDonough | Associate


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